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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

 UNITED STATES OF AMERICA               )
                                        )                Case No. 1:18-CR-355
            v.                          )
                                        )                Honorable Anthony J. Trenga
 HARES FAKOOR,                          )
                                        )                Hearing Date: August 24, 2022
            Defendant.                  )
_______________________________________ )

                      POSITION OF THE UNITED STATES ON
                 DEFENDANT’S SUPERVISED RELEASE VIOLATIONS

       The United States of America, through undersigned counsel and pursuant to 18 U.S.C. §

3583, Rule 32.1 of the Federal Rules of Criminal Procedure, and the U.S. Sentencing Commission

Guidelines Manual (the “Guidelines” or “U.S.S.G.”), submits this memorandum regarding the

supervised release violation of the defendant, Hares Fakoor (“defendant”). This memorandum

relates to the July 6, 2022 Petition on Supervised Release (“Petition”) submitted to the Court by

the U.S. Probation Office. See ECF No. 117.

       The Petition alleges that the defendant violated his supervised release conditions by using

a computer without prior approval from his Probation Officer, using sex-related websites, and

accessing pornographic material. A mere six days into his term of supervised release, the

Defendant admitted to his Probation Officer that he had accessed the internet every day since his

release from federal custody, viewing pornography sites and masturbating to the material and

content he was viewing two to three times per day, every day.

       The defendant engaged in sexually impulsive behaviors which began immediately upon

his release from federal incarceration, indicating a high a risk of recidivism. For this and other

reasons set forth below, the United States respectfully recommends the Court find the defendant
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in violation of his conditions of supervised release, impose a period of incarceration of 10 days,

and thereafter continue the defendant’s current 10-year term of supervised release.



                                       BACKGROUND

       I.      Underlying Offense and Instant Supervised Release Violation

       On October 4, 2018, the defendant was indicted for Receipt of Child Pornography, in

violation of 18 U.S.C. § 2252(a)(2) and (b)(1), and Possession of Child Pornography, in violation

of 18 U.S.C. § 2252(a)(4)(B) and (b)(2). ECF No. 19.

       On December 13, 2018, this Court accepted the defendant’s guilty plea to one count of

Receipt of Child Pornography, in violation of 18 U.S.C. § 2252(a)(2) and (b)(1). ECF No. 39. The

additional charge was dismissed by the government, pursuant to the plea agreement. ECF No. 39.

       On May 3, 2019, this Court sentenced the defendant to (1) 62 months confinement, with

credit for time served; (2) ten years of supervised release; (3) an undetermined amount in

restitution; and (4) a $5,100 USD special assessment. ECF No. 60. The 62-month sentence of

incarceration was significantly below the U.S.S.G. recommendation of 108 to 135 months. See

ECF No. 50.

       On June 16, 2022, the defendant was released to begin his ten-year term of supervision.

ECF No. 117. On July 6, 2022, just 20 days into the defendant’s ten-year period of supervised

release, the U.S. Probation Office submitted its Petition and an arrest warrant was issued for the

defendant for violating the terms of his supervised release. ECF No. 59 & 61. The Petition alleges

that the defendant violated his supervised release conditions by using a computer without prior

approval from his Probation Officer, using sex-related websites, and accessing pornographic

material.



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         A mere six days into his term of supervised release, on June 22, 2022, the Defendant

admitted to his Probation Officer that he had accessed the internet every day since his release from

federal custody on June 16, 2022. In accessing the internet every day, the defendant admitted he

was viewing pornography sites and masturbating to the material and content he was viewing. He

stated he was accessing the internet, viewing pornography on sex-related websites, and

masturbating to the material therein two to three times per day, every day. The defendant asserted

that he only viewed “adult” and “normal” stuff; however, given that the defendant accessed

pornographic sites on unapproved devices that did not have monitoring software, it is impossible

to verify the veracity of his representation.

         II.    Criminal History

         The defendant’s criminal history demonstrates a disregard for the law and a lack of control

over impulsive behaviors. His criminal history begins at age 18, when in 2003 he was convicted

of misdemeanor Trespassing in a Prince William County District Court. 1 ECF 50 at ¶ 91.

         In 2006, the defendant was convicted in Loudoun County of Indecent Exposure, a

misdemeanor. In that instance, the defendant was discovered pulled over on the side of the road,

fully nude, with an opened “Hooters” magazine. When asked by the deputy sheriff on scene to

explain himself, the defendant stated that he “could not help it” and “ejaculated when he saw the

deputy’s lights.” Id. at ¶ 92.

         The defendant has also been convicted in Virginia state courts of three violations related

to driving without a valid license in 2008, 2 one instance of Reckless Driving (originally charged


    1
        The defendant was originally charged with Grand Larceny, a felony. ECF at ¶ 91.
    2
      “Driving on Revoked License Contingent to Financial Responsibility” (initially charged as
Driving While License Revoked); “Driving Without a License”; and “Driving While License
Revoked or Suspended, 2nd Offense.” ECF 50 at ¶¶ 93-95.

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as Driving While Intoxicated, with a chemical breath test of 0.11) in 2009, and one instance of

Driving While Intoxicated in 2016. Id. at ¶¶ 96-97.

                                           ANALYSIS

       I.      Legal Standard

       Supervised release revocation hearings are not formal trials, and the Federal Rules of

Evidence need not be strictly observed. Fed. R. Evid. 1101(d)(3); United States v. Cates, 402 F.2d

473, 474 (4th Cir. 1968) (per curiam). To support a revocation, a court need only find by a

preponderance of the evidence that the defendant violated a requisite condition of supervised

release. 18 U.S.C. § 3583(e)(3); United States v. Copley, 978 F.2d 829, 831 (4th Cir. 1992).

       If a court does not revoke supervised release, the court may continue, modify, or terminate

a term of supervised release. 18 U.S.C. § 3583(e)(1)–(2). If a court opts for revocation, the court

may impose a term of imprisonment equal to all or part of the supervised release term authorized

by statute for the offense that resulted in the term of supervised release without credit for time

previously served on post-release supervision. 18 U.S.C. § 3583(e)(3). In addition, a court may

impose another period of supervised release, the length of which shall not exceed the term of

supervised release authorized by statute for the offense that resulted in the original term of

supervised release, less any term of imprisonment imposed upon revocation of supervised release.

18 U.S.C. § 3583(h).

       Before revoking or modifying a term of supervised release, courts are to consider the

§ 3553(a) sentencing factors—except for those set forth in § 3553(a)(2)(A), and kinds of sentences

available, per § 3553(a)(4). See 18 U.S.C. § 3583(e). Thus, factors to consider include the history

and characteristics of the defendant, the nature and circumstances of the offense, the need for the

sentence to provide adequate deterrence to criminal conduct, to protect the public from the



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defendant’s future criminal conduct, and to provide the defendant with correctional treatment,

among other factors. See 18 U.S.C. § 3553(a)(2)(B)–(D), (a)(4)–(7).

        II.     Statutory and Guidelines Analysis

        If the Court determines by a preponderance of the evidence that the defendant violated the

terms of his supervised release, it may revoke the supervised released authorizes for the underlying

offense. 18 U.S.C. § 3583(e)(3). The defendant’s underlying offense is Receipt of Child

Pornography, in violation of 18 U.S.C. § 2252(a)(2) and (b)(1). With a maximum prison term of

twenty years, the offense is a Class C felony. 18 U.S.C. § 3559(a)(3). Accordingly, if the

defendant’s supervised release is revoked, the Court may impose a maximum term of two years

imprisonment. See 18 U.S.C. § 3583(e)(3) (capping term of imprisonment for violation of

supervised release imposed for a Class C felony at two years).

        Upon revocation, a court may impose an additional term of supervised release after a

defendant’s reimprisonment. The Court may impose a new supervised release term of the

maximum term authorized by statute for the underlying offense resulting in the original term of

supervised release, less any term of imprisonment imposed upon revocation. 18 U.S.C. § 3583(h)

(providing the calculation of the length of an additional term of supervised release). Here, as

described above, the defendant’s underlying offense carries a maximum term of supervised release

for life. See 18 U.S.C. § 2252(a); see also 18 U.S.C. § 3583(k) (detailing an exception for crimes

under 18 U.S.C. § 2252(a) to the general rule under 18 U.S.C. § 3582(b)(2) that supervised release

is capped at three years for Class C felonies). Therefore, the Court could impose a new supervised

release term of life.

        The Sentencing Guidelines provide non-binding policy statements regarding the

appropriate sanction for supervised release violations. U.S.S.G. § 7A1; United States v. Davis, 53



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F.3d 638, 640 (4th Cir. 1995). The Guidelines also present recommended incarceration ranges for

supervised release violations based on a defendant’s Criminal History Category, and the nature of

the supervised release violation. See U.S.S.G. § 7B1.4. In this case, the defendant’s violations of

his conditions of supervision are Grade C violations. See U.S.S.G. § 7B1.1(a)(3). At the time of

his sentencing for the underlying offense, the defendant had a Criminal History Category of II.

ECF No. 50. When a defendant with a Criminal History Category of II commits a Grade C

violation, the Guidelines suggest a term of imprisonment between 4 and 10 months. U.S.S.G.

§ 7B1.4(a).

                                    RECOMMENDATION

       The defendant’s criminal history and the underlying offense all demonstrates a disregard

for the law and a lack of control over impulsive behaviors. Moreover, the defendant has adjusted

poorly to supervision thus far, breaking core tenants of his supervised release conditions

immediately upon release from federal custody: accessing the internet and viewing pornography

on sex-related websites. Taken together, these facts illustrate the defendant’s lack of appreciation

for the severity of his offense and the conditions of supervised release imposed upon him, and

warrant punitive action by the Court.

       For such an underlying offense as Receipt of Child Pornography, the supervised release

conditions prohibiting unapproved internet usage, use of sex-related websites, and use of

pornography are paramount. These conditions are not only the core of such a supervised release

agreement, they are instrumental to prevent recidivism.

       The defendant violated these core tenants of his supervised release conditions immediately

after being released from federal custody. The very day of his release, he instantly began accessing

the internet daily, visiting sex-related websites, and viewing pornography two to three times a day.



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Since the defendant was not authorized to use any internet devices, the devices on which he

accessed the pornography were unauthorized, without any monitoring software. Therefore, while

the defendant asserted he only viewed “normal,” “adult” pornography, it is impossible to know

with certainty the exact genre of material he watched. Regardless of the type of pornography

viewed, this type of violation, so soon after the term of supervised release commenced, indicates

a high likelihood that the defendant is on the path to recidivism.

       A brief period of incarceration is appropriate to serve as a deterrent and to help the

defendant stay on track. If left unaddressed, the defendant’s behavior indicates he is on the course

to reoffend. It is in the best interest of both the defendant and the community for the defendant to

take seriously the conditions of his supervised release and be deterred from committing any further

violations. Therefore, the United States respectfully recommends the Court find the defendant in

violation of his conditions of supervised release, impose a period of incarceration of 10 days, and

thereafter continue the defendant’s current 10-year term of supervised release.



                                                   Respectfully submitted,

                                                   Jessica Aber
                                                   United States Attorney



                                             By:       /s/
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                                 CERTIFICATE OF SERVICE

       I certify that on August 22, 2022, I filed electronically the foregoing with the Clerk of Court

using the CM/ECF system, which will serve all counsel of record.

       I further certify that, on August 22, 2022, I emailed a copy of the foregoing memorandum

to the Probation Officer assigned to this matter:

Barry E. Raymond
U.S. Probation Officer
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                                             By:        /s/
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